
PER CURIAM.
Gregory Cothron appeals the summary denial of his motion for postconviction relief filed under Florida Rule of Criminal Procedure 3.850. We affirm without comment the denial of postconviction relief except on ground three.
Cothron’s claim three is insufficiently pled, but he should be allowed an opportunity to amend. See Fla. R. Crim. P. 3.850(f)(3). On remand, Cothron shall be given an opportunity to amend ground three within sixty days as authorized by the rule.
AFFIRMED in part; REVERSED in part; REMANDED for further proceedings.
ORFINGER and WALLIS, JJ., and JACOBUS, B.W., Senior Judge, concur.
